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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                       *
vs.                                                 *    Case No.: 22-15 APM
THOMAS E. CALDWELL                                  *
         *       *      *       *      *      *          *      *        *       *     *
             UNOPPOSED REQUEST TO MODIFY CONDITIONS OF RELEASE

         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David

W. Fischer, Esq., and respectfully requests that the Court modify the conditions of release in this

matter, and in support of said motion states as follows:

      1. Assistant U.S. Attorney Kathryn Rakoczy does not oppose the instant request.

      2. Since March 12, 2021 the Defendant has fully complied with all conditions of release.

      3. A previous modification of the Defendant’s conditions of release granted the Defendant

         permission to travel freely within Clarke and Frederick Counties in Virginia.

      4. The Defendant requests permission to travel outside of Clarke and Frederick Counties to

         attend church services at the Oakrum Baptist Church located at 16419 Thoroughfare

         Road, Broad Rum, VA 20137 on October 2, 2022 from 9 a.m. to 3 p.m.

      WHEREFORE, the Defendant respectfully requests that the Court modify the Defendant’s

      conditions of release to allow him to attend services at the Oakrum Baptist Church on

      October 2, 2022 from 9:00 a.m. to 3:00 p.m.

                                                                   /s/
                                                         David W. Fischer, Esq.
                                                         Federal Bar No. 023787
                                                         Law Offices of Fischer & Putzi, P.A.
                                                         Empire Towers, Suite 300
                                                         7310 Ritchie Highway
                                                         Glen Burnie, MD 21061
                                                         (410) 787-0826
                                                         Attorney for Defendant
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                               CERTFICATE OF SERVICE
       I HEREBY CERTIFY that on this 26th day of September, 2022, a copy of the foregoing
Unopposed Motion to Modify Conditions of Release was electronically filed with the Clerk of
the United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                Office of the United States Attorney
                                           555 4th Street, NW
                                           Washington, DC 20001

                                                           /s/
                                                   David W. Fischer, Esq.
